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    From: Mark Riley <riley@riley-cpa-law.com>
    Sent: Monday, August 03, 2020 4:50 PM
    To: 'David Ross' <DRoss@ENDEAVOR-RE.com>
    Cc: 'Josh Lickteig' <jlickteig@ENDEAVOR-RE.com>; 'Ben Bufkin' <bbufkin@endeavor-re.com>; 'Ryan
    McClurg' <rmcclurg@ENDEAVOR-RE.com>; 'Chase Spruill' <CSpruill@ENDEAVOR-RE.com>
    Subject: RE: Pre-Qualification for IHOP Foreclosure Auction
    Importance: High
    Sensitivity: Confidential

    David,

    I have received the emails below and attachment.

    I have opened title for this sale with Stewart Title Guaranty Company – Commercial – Houston,
    File #20000331228. Funding will be through Stewart Title.
    Attached to this email are wire instructions for the Stewart Title Guaranty Company -
    Commercial Services Escrow Account.

    Riley


    Mark Riley
    Attorney-at-Law | Certified Public Accountant
    2726 Bissonnet St. | Houston, Texas 77005-1352
    T: 713.822.8935
    Riley@Riley-CPA-Law.com

    Texas State Bar No. 16929700
    Texas CPA License No. 031840

    CONFIDENTIALITY STATEMENT

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    used, and cannot be used, for the purpose of (i) avoiding penalties under the Internal Revenue Code or (ii) promoting, marketing or
    recommending to another party any transaction or matter addressed herein.




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                              NOTE: FOR THIS TRANSACTION, THESE WIRING
                                   INSTRUCTIONS WILL NOT CHANGE

      YOU MUST CONTACT YOUR CLOSING TEAM TO VERBALLY VERIFY THE WIRING
                INSTRUCTIONS 24 HOURS PRIOR TO WIRING FUNDS.

                                         Funding Information
  To help deter fraudulent banking activity, Stewart Title Guaranty Company - Commercial Services
  recommends all closing funds be sent by Federal Wire Transfer and to avoid use of Cashier’s
  Checks where possible. Use of Cashier’s Check may delay funding while they are verified with the
  issuing bank.

                                                WIRE INSTRUCTIONS

           File No.:                    20000331228

           Buyer/Borrower:              TBD

           Bank Name:                   BBVA

           Bank Address:                2200 Post Oak Blvd., Houston, TX 77056

           ABA Number:

           Account Name:                Stewart Title Guaranty Company - Commercial Services
                                        Escrow Account

           Account Number:

                  Failure to reference Stewart Title Guaranty Company - Commercial Services's file
                                        number may delay the receipt of funds.


  These instructions should only be used to Wire Transfer funds to Stewart Title Guaranty Company - Commercial
  Services. Do not use this account number to deposit any type of funds, including a cashier's check, into
  our account or send funds by ACH, E-Check or any other type of on-line bill payment or electronic funds
  transfer. These types of payments will be rejected and will delay the closing process.

  If you have any questions regarding this matter, please call your local Stewart Title Guaranty Company -
  Commercial Services office at a previously verified and trusted phone number.

  There has been an increase in fraud involving email scams and wire transfers. For your security, please
  call your local Stewart Title Guaranty Company - Commercial Services office at a previously verified and
  trusted phone number to confirm the wire instructions to be used before sending funds.




  Stewart Title Guaranty Company - Commercial Services
  1360 Post Oak Blvd., 10th Floor, MC #10-1, Houston, TX 77056
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                                                                                                       CTS-03030
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    From: David Ross <DRoss@ENDEAVOR-RE.com>
    Sent: Monday, August 03, 2020 4:14 PM
    To: Riley@Riley-CPA-Law.com
    Cc: Josh Lickteig <jlickteig@ENDEAVOR-RE.com>; Ben Bufkin <bbufkin@endeavor-re.com>; Ryan
    McClurg <rmcclurg@ENDEAVOR-RE.com>; Chase Spruill <CSpruill@ENDEAVOR-RE.com>
    Subject: RE: Pre-Qualification for IHOP Foreclosure Auction

    Mark, when you get a chance, please confirm receipt of the below/attached.

    Also – if we are selected tomorrow as the winning bid, do we wire deposits/funds for closing to a
    title/escrow company? Or will funds be wired directly to the Lender?

    David Ross
    Analyst

    Endeavor Real Estate Group
    dross@endeavor-re.com
    D 512-532-2179 C 509-251-0679




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    From: David Ross
    Sent: Monday, August 3, 2020 4:01 PM
    To: 'Riley@Riley-CPA-Law.com' <Riley@Riley-CPA-Law.com>
    Cc: Josh Lickteig <jlickteig@ENDEAVOR-RE.com>; Ben Bufkin <bbufkin@endeavor-re.com>; Ryan
    McClurg <rmcclurg@ENDEAVOR-RE.com>; Chase Spruill <CSpruill@ENDEAVOR-RE.com>
    Subject: Pre-Qualification for IHOP Foreclosure Auction

    Mark,

    I’ve attached our proof of funds letter from Mr. Charles Colley at Frost Bank regarding tomorrow’s
    foreclosure sale for the IHOP property.

    Is there anything else you need prior to tomorrow in order to pre-qualify us for the auction? If not,
    please confirm that we are pre-qualified to participate in tomorrow’s bidding.

    Thanks again for your help and responsiveness this afternoon.

    David Ross
    Analyst

    Endeavor Real Estate Group
    dross@endeavor-re.com
    D 512-532-2179 C 509-251-0679




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      401 Congress Ave, 12th Fl
      P.O. Box 1727
      Austin, TX 78764




       August 3, 2020


       Frost Bank
       401 Congress Avenue, Suite 1200
       Austin, Texas 78701
       Phone: (512) 473-4314
       Email: Charles.Colley@frostbank.com


       To Whom It May Concern

       As of August 4, 2020, Endeavor Opportunity Partners II will have an available cash balance of
       $20,000,000 and an additional $40,000,000 in available credit. This letter will serve as a
       verification that Endeavor Opportunity Partners II bank account has the ability to wire or write a
       check from Frost Bank account number ending 6428 to cover a purchase of up to $10,000,000.

       We furthermore confirm that these funds are freely transferable at our client’s directions, and
       that our clients account is in good standing with our bank.

       In the event you would like to verify these funds please address your calls to the contact
       information provided above and we will do all we can to assist you for the benefit of our client.

       Please feel free to call me with any additional questions. I can be reached at 512-473-4314.

       Sincerely,




       Charles Colley
       Senior Vice President




       Fr ost B a n k i s a s u bs i di a ry o f Cu ll en /Fr o s t Ba n ke rs , In c . N YS E S y m bo l : C F R, a Te xa s fi n a n ci al se r vic e s c o m pa n y o ffe r i n g ban ki n g , i n ve st me n t s a n d in s ur a n c e .

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    From: David Ross
    Sent: Monday, August 3, 2020 9:13 AM
    To: 'Riley@Riley-CPA-Law.com' <Riley@Riley-CPA-Law.com>
    Cc: Josh Lickteig <jlickteig@ENDEAVOR-RE.com>
    Subject: RE: Ruling Outcome - 319 Colorado

    Hi Mark, just wanted to follow up. Do you have an update on the Friday ruling and/or the status of the
    foreclosure auction for tomorrow?

    David Ross
    Analyst

    Endeavor Real Estate Group
    dross@endeavor-re.com
    D 512-532-2179 C 509-251-0679




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    From: David Ross
    Sent: Friday, July 31, 2020 5:37 PM
    To: Riley@Riley-CPA-Law.com
    Cc: Josh Lickteig <jlickteig@ENDEAVOR-RE.com>
    Subject: Ruling Outcome - 319 Colorado

    Hi Mark,

    Josh and I wanted to check in with you regarding today’s ruling on Nate Paul’s 319 Colorado case. Did
    you hear the outcome?

    Also, do you have any indication yet whether he plans to throw it into bankruptcy prior to the auction?

    Thank you and have a great weekend,




    David Ross, Analyst
    dross@endeavor-re.com

    Endeavor Real Estate Group
    500 West 5th Street, Suite 700 | Austin, TX 78701
    D 512-532-2179 C 509-251-0679
    endeavor-re.com




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